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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


PROTECT OUR PARKS, INC.,
CHARLOTTE ADELMAN,
MARIA VALENCIA, and
JEREMIAH JUREVIS,

             Plaintiffs,                       Case No. 18-cv-3424

             v.

CHICAGO PARK DISTRICT and                     Judge John Robert Blakey
CITY OF CHICAGO,

             Defendants.


                    MEMORANDUM OPINION AND ORDER

      This dispute arises out of the City of Chicago (City) and the Chicago Park

District’s (Park District) efforts to bring the Obama Presidential Center (OPC) to the

City’s South Side. Plaintiffs sue to prevent construction of the OPC on a specific site

within Jackson Park. [91] ¶ 1. Following this Court’s ruling on Defendants’ Rule

12(b)(1) motion to dismiss, [92], the parties completed full discovery and filed cross-

motions for summary judgment, [112] [122]. On June 11, 2019, this Court held a

hearing, and heard oral argument only on those issues and counts which required

consideration beyond the briefs.

      This order addresses the merits of the case. In doing so, this Court faces the

same challenge presented to the Illinois Supreme Court in Paepcke v. Public Building

Commission of Chicago, 263 N.E.2d 11 (Ill. 1970). As they put it:



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         [T]his court is fully aware of the fact that the issues presented in this
         case illustrate the classic struggle between those members of the public
         who would preserve our parks and open lands in their pristine purity
         and those charged with administrative responsibilities who, under the
         pressures of the changing needs of an increasingly complex society, find
         it necessary, in good faith and for the public good, to encroach to some
         extent upon lands heretofore considered inviolate to change. The
         resolution of this conflict in any given case is for the legislature and not
         the courts. The courts can serve only as an instrument of determining
         legislative intent as evidenced by existing legislation measured against
         constitutional limitations. In this process the courts must deal with
         legislation as enacted and not with speculative considerations of
         legislative wisdom.
Id. at 21. With this principle in mind and for the sound reasons set forth below, this

Court grants Defendants’ motion for summary judgment, [122], and denies Plaintiffs’

motion for summary judgment, [112].                    The facts do not warrant a trial, and

construction should commence without delay. This case is terminated.

I.       Background

         The following facts come from Plaintiffs’ Rule 56.1 statement of facts, [112-1],

Defendants’ Rule 56.1 statement of facts, [124], Plaintiffs’ statement of additional

material facts, [136], and Defendants’ statement of additional material facts, [139]. 1

         A.     The Parties

         Plaintiff Protect Our Parks, Inc. is a nonprofit park advocacy organization

located in Chicago. [112-1] ¶ 1; [124] ¶ 1. Its members include individuals who reside

in the City of Chicago and pay taxes to the City. Id. Plaintiff Adelman resides in




1 Both parties submitted their responses to each other’s statements of material facts and their own
statements of additional facts within the same docket number. See [136] [139]. Unless otherwise
noted, all cites to [136] and [139] in this opinion refer to the parties’ statements of additional facts.

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Wilmette, Illinois. Id. Plaintiffs Valencia and Jurevis reside in the City of Chicago.

Id.

        Defendant Park District exists as a body politic and corporate entity

established by Illinois law, pursuant to the Chicago Park District Act, 70 ILCS

1505/.01, et seq. [112-1] ¶ 2; [124] ¶ 2. Defendant City is a body politic and municipal

corporation. [112-1] ¶ 3; [124] ¶ 3.

        B.       Selecting the OPC Site

        In March 2014, the Barack Obama Foundation (Foundation) initiated a search

for the future site of the OPC. [112-1] ¶ 4. Both the University of Chicago and the

University of Illinois Chicago (UIC) proposed potential locations. Id. ¶¶ 5, 19. UIC

proposed two sites, generally located at: (1) the North Lawndale neighborhood; and

(2) the east end of the school’s campus. Id. ¶ 19; [126-2] at 105098. The University

of Chicago proposed three sites, generally located at: (1) the South Shore Cultural

Center 2; (2) Jackson Park; and (3) Washington Park. [112-1] ¶ 5; [126-2] at 105098.

At this time, the Park District owned both the Jackson Park and Washington Park

parkland identified in the University of Chicago’s proposal. [126-2] at 105098.

        In addition to these sites, nine entities from several locations throughout the

country submitted proposals for the OPC, resulting in a total of 14 potential sites.

[112-1] ¶ 25.       The Foundation performed an analysis of the proposals from all

submitting entities, evaluating the sites based upon the following criteria:

             •   Project Site and Access: desirability of site, surrounding
                 community, control of site, local accessibility, global accessibility

2 The City and Park District later eliminated the South Shore site from consideration as a potential
location. [112-1] ¶ 7.

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           •   Project Execution: education impact, tourism impact, economic
               development impact, enhancements to the physical environment

           •   Community Engagement: engagement plan, quality/breadth of
               partners, means of engagement

           •   Indications of Support: partnership structure, alignment of
               mission, financial capacity.
Id.; [117-5] at 5. The Foundation assigned numerical scores to each site based upon

the above evaluation criteria, and ranked the sites based upon these scores. [112-1]

¶ 26; [117-5] at 8−9. The Washington Park Site received the highest score at 122 out

of 150; the Jackson Park site received the second highest score at 121 out of 150; and

the UIC’s proposed locations received a combined score of 120 out of 150, putting it

in third place. Id.

      On July 29, 2016, the Foundation issued a press release announcing that it

chose Jackson Park as the OPC site. [124] ¶ 13; [114-16].

      C.       The OPC Site

               i.     Site Location

      The site selected for the OPC within Jackson Park comprises 19.3 acres, or 3.5

percent of the 551.52 acres comprising Jackson Park. [124] ¶ 6. It lies on the western

edge of Jackson Park and includes existing parkland bounded by South Stony Island

Avenue to the west, East Midway Plaisance Drive North to the north, South Cornell

Drive to the east, and South 62nd Street to the south. Id. ¶ 7. The OPC site also

includes land within the park that currently exists as city streets: the portion of East

Midway Plaisance Drive North between Stony Island Avenue and South Cornell


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Drive, and a portion of South Cornell Drive between East Midway Plaisance Drive

South and East Hayes Drive. Id. As part of the OPC construction, these street

portions would be closed and removed “to restore” the landscape’s connection to the

Lagoon and Lake.” Id. ¶¶ 7, 40.

       The site lies approximately half a mile from Lake Michigan, separated by: (1)

six-lane Cornell Drive; (2) the lagoons and Wooded Island of Jackson Park; (3)

Jackson Park’s golf driving range and other grounds; (4) Lake Shore Drive; and (5) a

pedestrian and bike path. Id. ¶ 7. It sits entirely above ground, although the parties

dispute whether the site formerly sat beneath Lake Michigan. Id. ¶ 9; [136] ¶ 9

(Plaintiffs’ response).

              ii.    Site Components

       The OPC will consist of a campus containing open green space, a plaza, and

four buildings: (1) the Museum Building; (2) the Forum Building; (3) a Library

Building; and (4) a Program, Athletic, and Activity Center. [124] ¶¶ 23, 26. It will

also include an underground parking garage. Id. ¶ 23.




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[91] ¶ 50.

      The Museum will comprise the OPC’s principal building and “central mission.”

[124] ¶ 24. It seeks to “tell the stories of the first African American President and

First Lady of the United States, their connection to Chicago, and the individuals,

communities, and social currents that shaped their local and national journey.” Id.

¶ 25. In doing so, the Museum will feature artifacts and records from President

Obama’s presidency, including items on loan from the National Archives and Records

Administration (NARA). Id. ¶¶ 24−25; [125-5] (Exhibit D, Recital J).

      The Forum Building will contain collaboration and creative spaces, including

an auditorium, meeting rooms, recording and broadcasting studios, and a winter

garden and restaurant. [124] ¶ 27.

      The Library Building will include a branch of the Chicago Public Library and

a President’s Reading Room, featuring curated collections and displays of archival

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material, including digital access to Obama Administration records. Id. ¶ 28; [125-5]

(Exhibit D, (Sub) Exhibit “C”).

      The Program, Athletic, and Activity Center will host public programs such as

“presentations, events, athletics, and recreation.” [124] ¶ 29; [125-5] (Exhibit D, (Sub)

Exhibit “C”).

      The OPC’s green space will include features such as: (1) play areas for children;

(2) “contemplative spaces for young and old”; (3) a sledding hill; (4) a sloped lawn for

picnicking, recreation and community and special events; (5) walking paths; and (6)

a nature walk along the lagoon. [124] ¶ 30. The Foundation will also “preserve and

enhance” the existing Women’s Garden and Lawn, keeping it open and available as

green space. Id.

                iii.   Site Accessibility

      According to the Use Agreement between the City and Foundation, discussed

in detail below, the OPC buildings must “be open to the public at a minimum in a

manner substantially consistent with the manner in which other Museums in the

Parks are open to the public.” Id. ¶ 26; [125-5] (Exhibit D, § 6.2(a)(i)). All other

portions of the OPC, such as the green space, must remain open to the public during

regular Park District hours. [124] ¶ 30; [125-5] (Exhibit D, § 6.2(a)(ii)).

      The OPC will charge fees for entry into the Museum and for the parking

garage. [112-1] ¶ 43. It will, however, provide free public access to many interior

spaces within the OPC, including portions of the garden and plaza levels in the

Museum Building and the top floor of the Museum Building. [124] ¶ 26. Moreover,



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the Foundation must operate the OPC in accordance with the free admission

requirements of Illinois’ Park District Aquarium and Museum Act, which mandates

free admission to all Illinois residents at least 52 days out of the year and to all Illinois

school children accompanied by a teacher. Id. ¶ 37. The admission fee policy for

members of the public who are City residents, or low-income individuals and their

families participating in the Supplemental Nutrition Assistance Program (or

equivalent program), must also be “substantially consistent with comparable general

admission fee policies” for such individuals maintained by “other Museums in the

Park.” [125-5] (Exhibit D, § 6.10).

       D.     OPC Municipal Approval Process

              i.     Jackson Park’s Creation

       In 1869, the General Assembly passed “An Act to Provide for the Location and

Maintenance of a Park for the Towns of South Chicago, Hyde Park and Lake” (1869

Act). [112-1] ¶ 17; Private Laws, 1869, vol. 1, p. 358. The statute provided for the

formation of a board of public park commissioners to be known as the “South Park

Commissioners.” Id. The Act authorized these commissioners to select certain lands,

which, when acquired by said commissioners, “shall be held, managed and controlled

by them and their successors, as a public park, for the recreation, health and benefit

of the public, and free to all persons forever.” Private Laws, 1869, vol. 1, p. 360.

Pursuant to this authority, the commissioners acquired the land now known as

Jackson Park. [112-1] ¶ 17; [139] ¶ 17 (Defendants’ response).                 The Illinois

Legislature enacted the Park District Consolidation Act in 1934, which consolidated



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the existing park districts, including the South Park District, into the Chicago Park

District. 70 ILCS 1505/1.

             ii.   Transfer From the Park District to the City

      In early January of 2015—before the Jackson Park site selection—the

Foundation expressed “concerns regarding the City’s lack of control” over the

proposed Jackson and Washington Park sites and indicated that “consolidating

ownership of the sites and local decision-making authority in the City was a

prerequisite to a successful bid.” [126-2] at 105098−99.

      Subsequently, in February 2015—in an open meeting during which members

of the public spoke and submitted written comments—the Park District’s Board of

Commissioners voted to approve the transfer of “approximately 20 acres of property”

located in Washington Park or Jackson Park to the City. [124] ¶ 11; [125-4] at 4, 11.

Following this meeting, the OPC site’s boundaries within Jackson Park shifted to the

north and east. [124] ¶ 11.

      In February 2018, after a public meeting, the Board of Commissioners

confirmed authority to transfer the reconfigured site to the City. Id.

      In March 2015, the City Council enacted an ordinance “authorizing the

execution of an intergovernmental agreement between the City of Chicago and the

Chicago Park District necessary to acquire selected sites in order to facilitate the

location, development, construction and operation” of the OPC. [124] ¶ 12; [126-2] at

105096. In October 2018, following the Jackson Park selection, the City Council

passed an ordinance finding it “useful, desirable, necessary and convenient that the



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City acquire the OPC site from the Park District” for the “public purpose” of

constructing and operating the OPC. [124] ¶ 12; [125-5] at 85886 § 2.

             iii.   City Council Approval

      In January 2018, the Foundation applied to the City for a zoning amendment

to build the OPC on the Jackson Park site as a “planned development”—a designation

required for certain institutional and campus-oriented projects. [124] ¶ 13; [126-3].

The Foundation also applied for approval under the City’s Lake Michigan and

Chicago Lakefront Protection Ordinance (LPO). [124] ¶ 13. The City’s Department

of Planning and Development (DPD) subsequently reviewed both applications and

prepared a report (DPD Study) as required by the City’s Municipal Code. Id. The

DPD Study recommended approving both applications. Id.

      On May 17, 2018, the Chicago Plan Commission—which reviews proposals

involving planned developments and the Lakefront Protection Ordinance within the

City—held a public hearing on the Foundation’s application for a planned

development zoning amendment and for approval under the LPO. Id. ¶ 14; [126-5].

Representatives from the City and the Foundation testified at the hearing, and over

75 members of the public commented on the proposals. [124] ¶ 14. The presentation

from DPD staff included a slideshow depicting various renderings of the OPC

proposal. Id.

      At the conclusion of this hearing, the Plan Commission found that the OPC

project conformed with the LPO and approved the Foundation’s application under the

LPO. Id. ¶ 15. In doing so, the Plan Commission adopted the DPD Study as its



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findings of fact. Id. Under the City’s Municipal Code, the Plan Commission serves

as the final decisionmaker as to whether a project complies with the Lakefront Plan

of Chicago and the purposes of the LPO. Id.; Municipal Code of Chicago (MCC) § 16-

4-100(e).

       Also at the May 17 hearing, the Plan Commission recommended approval of

the Foundation’s application for a zoning amendment. [124] ¶ 16. Again, the Plan

Commission adopted the DPD Study as the Commission’s own findings of fact. Id.

Under the City’s Municipal Code, after considering a zoning amendment application,

the Plan Commission must refer the application to the City Council, which serves as

the final decisionmaker on the amendment. Id.; MCC § 17-13-0607.

       Accordingly, on May 22, 2018, the City Council’s Committee on Zoning,

Landmarks and Building Standards held a public hearing to consider the zoning

amendment.      [124] ¶ 17.     Following testimony from City and Foundation

representatives and public comments, the Committee voted to recommend approval.

Id.   The next day, the full City Council approved the amendment, enacting an

ordinance that authorized construction of the OPC as a Planned Development; this

ordinance controls the size and layout of the OPC’s buildings. Id. ¶ 18.

       In October 2018, the City Council considered and approved two additional

ordinances for the OPC project.     Id. ¶ 19.    First, it considered the Operating

Ordinance, which allows the City to accept title to the Jackson Park site from the

Park District and to enter into agreements with the Foundation governing the

Foundation’s use of the site. Id. On October 11, 2018, the City Council’s Committee



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on Housing and Real Estate held a public hearing on the Operating Ordinance,

during which City and Foundation representatives testified about the ordinance and

members of the public commented.        Id.   The Committee voted unanimously to

recommend adopting the Operating Ordinance, and the full City Council

unanimously approved it on October 31, 2018. Id.

        Second, the City Council considered an ordinance authorizing the City to

vacate portions of East Midway Plaisance Drive South and Cornell Drive within

Jackson Park for conversion into parkland as part of the OPC site. Id. ¶ 20. On

October 25, 2018 the City Council’s Committee on Transportation and Public Way

held a public hearing on the ordinance, during which City and Foundation

representatives again testified, and members of the public commented. Id. The

Committee voted unanimously to recommend adopting the ordinance, and the full

City Council unanimously approved it on October 31, 2018. Id.

             iv.   The Use Agreement

        One of the agreements authorized by the Operating Ordinance includes the

Use Agreement, which sets out the terms by which the Foundation may use Jackson

Park for the OPC. Id. ¶ 21; [125-5] (Exhibit D). The Use Agreement does not transfer

ownership of the OPC site, nor does it lease the site to the Foundation. See generally

[125-5] (Exhibit D); [112-1] ¶ 46. Rather, section 2.1 of the Use Agreement provides

the Foundation with the following rights with respect to the OPC site for a 99-year

term:




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        (a) the right to construct and install the Project Improvements 3
        (including the Presidential Center);

        (b) the right to occupy, use, maintain, operate and alter the Presidential
        Center Architectural Spaces 4; and

        (c) the right to use, maintain, operate and alter the Presidential Center
        Green Space and Green Space. 5

[125-5] (Exhibit D, §§ 2.1−.2).

        The Foundation will construct the OPC’s buildings at its own expense and upon

completion, transfer ownership of the buildings and other site improvements to the

City at no charge. Id. §§ 2.1, 4.4; [124] ¶ 34. The Foundation will also maintain the

OPC site and buildings at its sole expense for the entire life of the Use Agreement.

[124] ¶ 35; [125-5] (Exhibit D, §§ 2.2, 7.1). The City is not required to enter into the

Use Agreement until the Foundation establishes an endowment for the OPC and the

site, and confirms that it has funds or commitments sufficient to pay the projected

construction costs. [124] ¶ 36.

        As to consideration, the Use Agreement provides:

        The consideration for this Agreement is Ten and 00/100 Dollars ($10.00)
        payable by the Foundation on the Commencement Date, the receipt and

3The Use Agreement defines “project improvements” as the Presidential Center Architectural Spaces
and all other improvements constructed, installed, or located on the OPC site by the Foundation in
accordance with the Use Agreement. [125-5] (Exhibit D, Art. I). The “Presidential Center” includes
the “Presidential Center Architectural Spaces” and the “Presidential Center Green Space,” as well as
all other improvements and fixtures constructed, installed, or located by the Foundation in accordance
with the Use Agreement. Id.

4 “Presidential Center Architectural Spaces” includes the Museum Building, the Forum Building, the
Library Building, the Program, Athletic and Activity Center, the Underground Parking Facility, the
Plaza, and all “other facilities and improvements ancillary to any of the foregoing,” such as
loading/receiving areas and service drives. [125-5] (Exhibit D, Art. I).

5 “Presidential Center Green Space” means all portions of the Presidential Center other than the
Presidential Center Architectural Spaces. [125-5] (Exhibit D, Art. I). “Green Space” means all portions
of the OPC site excluding the Presidential Center. Id.

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       sufficiency of which, when taken together with the construction,
       development, operation, maintenance and repair of the Presidential
       Center and the other Project Improvements by the Foundation, the
       vesting of ownership of the Project Improvements by the Foundation in
       the City (as contemplated herein), as well as the material covenants and
       agreements set forth herein to be performed and observed by the
       Foundation, are hereby acknowledged by the City.

[125-5] (Exhibit D, Art. III).

       With respect to operating the OPC, the Use Agreement prohibits the

Foundation from using the OPC for political fundraisers or in any manner

inconsistent with its status as a tax exempt entity under Section 501(c)(3) of the

Internal Revenue Code. Id. at § 6.3(d); [124] ¶ 21. The Foundation must use revenues

collected from general and special admission fees, parking and other visitor services,

third-party use fees, food and beverage sales, and retail sales for the OPC’s operations

and maintenance, or deposit such revenues into an endowment for those purposes.

[124] ¶ 21; [125-5] (Exhibit D, § 6.9).

       In addition, the Foundation must provide the City with an annual report on

the OPC’s operations, and in conjunction with the City, form an Advisory Operations

Committee to address ongoing operational issues related to the OPC and any

concerns arising from nearby and adjacent areas of Jackson Park. [124] ¶ 21; [125-

5] (Exhibit D, §§ 17.3−.4). If the Foundation ceases to use the OPC for its permitted

purposes—essentially, operating the OPC—under the Use Agreement, the City may

terminate the Agreement. [124] ¶ 21; [125-5] (Exhibit D, §§ 6.1, 16.2).




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      E.     OPC Studies

      The City did not perform a comparative analysis of the economic or other

community impact on the City as a result of building the OPC at one particular

location versus another. [112-1] ¶¶ 28−29. Rather, the DPD Study looked at the

Jackson Park site specifically, while studies performed by private institutions

analyzed the impact of generally placing the OPC in Chicago and the State of Illinois.

[124] ¶¶ 13, 55−56.

      The DPD Study first looked at the environmental and community impact of

placing OPC on Jackson Park. Generally, it concluded that the OPC would increase

recreational opportunities on the South Side of Chicago, bring more visitors to

Jackson Park and the surrounding communities, increase the use of surrounding

open space, and improve safety. Id. ¶ 53. Specifically, it found that by closing certain

streets within Jackson Park, and by expanding or reconfiguring other streets in and

around Jackson Park, the OPC would, for example: (1) improve access by pedestrians

through the park, across the lagoons to the lake, id. ¶ 39; (2) offer unimpeded

pedestrian and bike access to the Museum of Science and Industry from the South

Side,” id. ¶ 40; (3) replace some of the land currently occupied by Cornell Drive with

a “restful Woodland Walk,” id. ¶ 41; (4) create new pedestrian access points and ADA

compliant design features, id. ¶ 42; and (5) reduce air and noise pollution, improve

existing bird habitats, and attract new wildlife to the OPC site area, id. ¶ 47. In total,

the DPD Study found that the roadway work conducted in connection with the OPC




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will create a net gain of an additional 4.7 acres of publicly available park space

throughout Jackson Park. Id. ¶ 45.

        The DPD Study also addressed the OPC’s economic benefits. It found that the

OPC would create nearly 5,000 new, local jobs during construction, and more than

2,500 permanent jobs once the OPC opens.        Id. ¶ 54. Deloitte Consulting LLP

similarly completed a report, commissioned by the Chicago Community Trust, 6

assessing the OPC’s economic impact on the State of Illinois and City, as well as the

South Side. Id. ¶ 55. It projected that the OPC’s construction and operation would

create an increase of $11.3 million in revenue generated on an annual basis from

state and local taxes within Cook County.       Id.   A study commissioned by the

University of Chicago and conducted by Anderson Economic Group also projected that

by building the OPC on the South Side, tax revenue for the City and for Chicago

Public Schools would increase by a combined $5 million annually. Id. ¶ 56.

        F.     OPC Costs

        The City has estimated the costs for roadway alterations and other

infrastructure work in Jackson Park at $174 million to $175 million. [112-1] ¶ 33;

[127-5] at 22−23. According to Defendants, portions of this estimated cost will go

towards infrastructure improvements in areas of Jackson Park not adjacent to the

OPC to further the Park District’s broader South Lakefront Plan.          [139] ¶ 33

(Defendants’ response); [128-4] at 012159. A traffic impact study conducted by Sam

Schwartz Engineering, DPC demonstrates that the Washington Park site would have


6The Chicago Community Trust serves as a “community foundation dedicated to making the
Chicagoland region more vibrant through service.” [128-5] at 5.

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also required substantial roadway alterations, although it did not estimate a specific

cost. [139] ¶ 1; [139-4].

        In 2015, the City estimated costs for environmental remediation to the OPC

site within Jackson Park at $1,246,083 to $1,852,831. [112-1] ¶ 34; [114-9] at 011749.

Comparably, the City estimated environmental remediation costs for the proposed

Washington Park site at $2,506,836 to $6,959,946. Id. Other estimated costs related

to constructing the OPC in Jackson Park include: $3,285,843 for relocating utilities,

[112-1] ¶ 35; $367,800 for relocating a water main and fire hydrant, id. ¶ 36; and

$4,972.72 for architectural/engineering services, id. ¶ 37.

        F.     Procedural History

        On February 19, 2019, this Court granted in part and denied in part

Defendants’ motion to dismiss based upon lack of subject matter jurisdiction. [92]. 7

Plaintiffs’ remaining claims assert: (1) a violation of due process under 18 U.S.C. §

1983 (Count I); (2) breach of the public trust under Illinois law (Count II); (3) ultra

vires action under Illinois law (Count III); (4) a request for declaratory judgment as

to the inapplicability of the Illinois Museum Act (Count IV); and (5) a special

legislation claim under Illinois law (Count V). [91].




7 This Court previously granted six motions for leave to file briefs as amici curiae in relation to
Defendants’ motion to dismiss or for judgment on the pleadings [48]. See [77]. Following the parties’
cross-motions for summary judgment, the amicus authors requested that this Court consider their
original briefs at the summary judgment stage. See [113] [131] [132] [134]. This Court has carefully
considered all amicus briefs in relation to the parties’ cross-motions for summary judgment, [54-1] [56-
1] [61-1] [69-1] [73] [75].

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      Following full discovery, the parties filed cross-motions for summary judgment

on May 3, 2019, [112] [122], their responses on May 17, 2019, [137] [138], and their

replies on May 24, 2019, [141] [143].

II.   Legal Standard

      Summary judgment is proper where there is “no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ.

P. 56(a). A genuine dispute as to any material fact exists if “the evidence is such that

a reasonable jury could return a verdict for the nonmoving party.” Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The party seeking summary judgment

has the burden of establishing that there is no genuine dispute as to any material

fact. See Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).

      In determining whether a genuine issue of material fact exists, this Court must

construe all facts and reasonable inferences in the light most favorable to the non-

moving party. See CTL ex rel. Trebatoski v. Ashland Sch. Dist., 743 F.3d 524, 528

(7th Cir. 2014). The non-moving party has the burden of identifying the evidence

creating an issue of fact. Harney v. Speedway SuperAmerica, LLC, 526 F.3d 1099,

1104 (7th Cir. 2008). To satisfy that burden, the non-moving party “must do more

than simply show that there is some metaphysical doubt as to the material facts.”

Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986).

Thus, a mere “scintilla of evidence” supporting the non-movant’s position does not

suffice; “there must be evidence on which the jury could reasonably find” for the non-

moving party. Anderson, 477 U.S. at 252.



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        Cross-motions for summary judgment “do not waive the right to a trial;” rather,

this Court treats “the motions separately in determining whether judgment should

be entered in accordance with Rule 56.” Marcatante v. City of Chicago, Ill., 657 F.3d

433, 438−39 (7th Cir. 2011).

III.    Analysis

        Defendants move for summary judgment on all five of Plaintiffs’ remaining

claims. [123-1]. Plaintiffs, on the other hand, move for partial summary judgment

on their due process (Count I), public trust doctrine (Count II), and ultra vires (Count

III) claims.    [120] at 15. 8     This Court analyzes each remaining count in turn,

beginning with Plaintiffs’ public trust claim.

        A.     Count II: Breach of the Public Trust

               i.      Public Trust Origins

        The public trust doctrine traces its roots back to English common law, during

the time when “the existence of tide waters was deemed essential in determining the

admiralty jurisdiction of courts in England.” Ill. Cent. R.R. Co. v. State of Illinois,

146 U.S. 387, 435 (1892); see also Propeller Genesee Chief v. Fitzhugh, 53 U.S. 443,

454−55 (1852). In England, no navigable stream existed “beyond the ebb and flow of

the tide,” nor were there any locations, outside of tide-waters, “where a port could be

established to carry on trade with a foreign nation, and where vessels could enter or




8 Even though Plaintiffs’ motion for summary judgment lists Count IV in its motion for summary
judgment, Plaintiffs later fail to address the merits of that count, and thus, waiver applies. Compare
[112] (moving for summary judgment on Count IV) with [120-1] at 15 (memorandum of law excluding
Count IV from the claims upon which Plaintiffs move for summary judgment); See generally [120-1].


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depart with cargoes.” Propeller Genesee, 53 U.S. at 454−55. Accordingly, the public

maintained an interest in the use of tide-waters, and only the crown could “exercise

such dominion over the waters as would insure freedom in their use so far as

consistent with the public interest.” Ill. Cent., 146 U.S. at 436. Non-tide waters,

however, could be privately owned. Id.

      The Supreme Court offered the “classic statement” of how U.S. courts should

apply this common law principle in Illinois Central Railroad. Lake Michigan Fed’n

v. United States Army Corp. of Eng’rs, 742 F. Supp. 441, 444 (N.D. Ill. 1990). In 1869,

the Illinois legislature granted Illinois Central Railroad, in fee simple, title to over

1,000 acres of submerged land extending into Lake Michigan about one mile from a

portion of Chicago’s shoreline, and authorized the railroad to operate a rail line over

the property. Ill. Cent., 146 U.S. at 444. After the railroad improved the property

and began operations, the legislature repealed the enabling legislation and revoked

its original grant. Id. at 438.

      In rejecting the railroad’s challenge to the State’s action, the Court first held

that the common law distinction between tide and non-tide waters no longer applied;

the Great Lakes, while unaffected by the tide, still facilitated commerce “exceeding

in many instances the entire commerce of States on the borders of the sea.” Ill. Cent.,

146 U.S. at 436. Accordingly, the public trust doctrine, founded upon “the necessity

of preserving to the public the use of navigable waters from private interruption and

encroachment,” applied equally to “navigable fresh waters,” including the Great

Lakes. Id. at 436−37.



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      Second, the Court found that while the State owned the submerged land, it

could not transfer that land to the railroad because the State’s title was “held in trust

for the people of the State that they may enjoy the navigation of the waters, carry on

commerce over them, and have liberty of fishing therein, freed from the obstruction

or interference of private parties.” Id. at 452−53. Thus, the Court concluded that

“the control of the State for the purposes of the trust can never be lost, except as to

such parcels as are used in promoting the interests of the public therein, or can be

disposed of without any substantial impairment of the public interest in the lands

and waters remaining.” Id. at 453.

             ii.    The OPC Site Sits Upon Never-Submerged Land

      As an initial matter, the parties dispute whether under the public trust

doctrine, the OPC site constitutes land that was never submerged under Lake

Michigan or land that was formerly submerged under the Lake. As is discussed

below, this determination directs what level of deference this Court gives to the State

in applying the public trust doctrine under Illinois law.

      Both parties concede that as early as 1822, and at the time the state authorized

the creation of Jackson Park in 1869, the OPC site sat above Lake Michigan. [124]

¶¶ 8−9; [136] ¶ 9 (Plaintiffs’ response); [124-5] (Excerpt of 1822 Map of Federal

Township, including Far West Section 13 in which the OPC site is located).

Nevertheless, Plaintiffs contend that the OPC site constitutes formerly submerged

land, based solely upon an Illinois State Archaeological Survey (ISAS) Technical

Report. [136] ¶ 9 (Plaintiffs’ response). Plaintiffs fail to note, however, that the map



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to which they site in the ISAS report documents the “Late Pleistocene and early

Holocene lake levels.” [136-3] at 10. In other words, Plaintiffs invite this Court to

find that because the OPC site may have been submerged approximately 11,000 years

ago, it constitutes “formerly submerged” land for purposes of the public trust doctrine.

[136-3] at 7−10.

          Respectfully, this Court declines Plaintiffs’ invitation. The Illinois Supreme

Court has held that the date of Illinois’ admission into the Union serves as the date

it “became vested with the title to the beds of all navigable lakes and bodies of water

within its borders.”          Wilton v. Van Hessen, 94 N.E. 134, 136 (Ill. 1911).   Put

differently, this Court must ask whether land was submerged as of the date Illinois

achieved statehood.

          Defendants’ map, obtained from the Illinois State Archives, demonstrates that

as early as 1822, the OPC site sat above Lake Michigan. [124] ¶ 9; [124-5]. Plaintiffs

fail to offer any evidence or argument to demonstrate that just four years earlier—

when Illinois entered the Union—the OPC site sat beneath the Lake. See generally

[137]. In fact, the page to which Plaintiffs cite in the ISAS report includes a map

from the “Early Nipissing” period showing that as recently as 4,000 years ago,

Jackson Park sat above ground. [142] ¶ 9; [136-3] at 10. 9 As such, the factual record

confirms that the OPC site constitutes never-submerged land under the public trust

doctrine. This Court now turns to the merits of the parties’ public trust arguments.




9   Plaintiffs conceded this point at oral argument.

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             iii.   The Public Trust Doctrine Applies to the OPC Site

      Defendants first argue that because Illinois Central referred only to “navigable

waters,” and because the OPC site sits upon never-submerged land, the OPC cannot

fall within Illinois Central’s application of the public trust doctrine. [123-1] at 18.

      But Illinois courts have extended the public trust doctrine to Chicago parkland,

including land within Jackson Park, because of the 1869 Act’s directive that such

land “shall be held, managed and controlled by them and their successors, as a public

park, for the recreation, health and benefit of the public, and free to all persons

forever.” See Clement v. Chi. Park Dist., 449 N.E.2d 81, 84 (Ill. 1983) (affirming lower

court’s approval of a golf driving range in Jackson Park under a public trust doctrine

analysis); Paepcke, 263 N.E.2d at 15−19 (Ill. 1970) (applying public trust doctrine to

park land in Washington and Douglas Parks). Thus, consistent with prior caselaw,

this Court analyzes the OPC site under the public trust doctrine.

             iv.    Deference

      Next, Plaintiffs argue that this Court should apply a general level of

“heightened scrutiny” when analyzing the OPC site under the Illinois public trust

doctrine. [120-1] at 16−17. Not so. Illinois public trust cases require courts to apply

the doctrine using varying levels of deference, based upon the property’s relationship

to navigable waterways. See, e.g., Paepcke, 263 N.E.2d at 15−19 (applying public

trust doctrine to never-submerged park land); Friends of the Parks v. Chicago Park

Dist., 786 N.E.2d 161, 169−170 (Ill. 2003) (applying public trust doctrine to formerly

submerged land); Lake Michigan Fed’n, 742 F. Supp. at 444−46 (applying public trust



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doctrine to presently submerged land). In fact, Plaintiffs recognize that such levels

of deference exist when asserting that the OPC site sits upon formerly submerged

land. See, e.g., [136] ¶ 9; [91] ¶ 45.

       The below analysis, therefore, finds that the OPC does not, as a matter of law,

violate the public trust under the level of scrutiny applied to never-submerged lands.

In the alternative, this Court also finds that, even under the heightened levels of

scrutiny (applied to formerly submerged and submerged lands), the OPC still does

not violate the public trust.

                     a.     Never-Submerged Land: Paepcke Requires
                            Deference to the Illinois Legislature

       The Illinois Supreme Court recognizes that Illinois legislators retain

significant control over never-submerged land they themselves choose to designate

within the public trust; and thus, when applying the public trust doctrine to land that

is not—and never has been—submerged, reviewing courts must ask only whether

sufficient legislative intent exists for a given land reallocation or diversion. See

Paepcke, 263 N.E.2d at 19.

       In Paepcke, the court considered allowing Chicago’s Public Building

Commission, with the Park District’s cooperation, to construct a school-park facility

on never-submerged land within Washington Park. Id. at 14. As in this case, the

land at issue derived from the 1869 Act. Id. at 13. There, the court affirmed the trial

court’s dismissal of plaintiffs’ challenge under the public trust doctrine because

“sufficient manifestation of legislative intent” existed to “permit the diversion and

reallocation contemplated” by defendants’ plan. Id. at 18−19. In finding the requisite

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legislative intent under the Public Building Commission Act and related statutes, the

court warned that “courts can serve only as an instrument of determining legislative

intent as evidenced by existing legislation measured against constitutional

limitations” and in “this process the courts must deal with legislation as enacted and

not with speculative considerations of legislative wisdom.” Id. at 21. Thus, courts

facing public trust claims over statutorily designated parkland must ask only

whether legislation “is sufficiently broad, comprehensive and definite to allow the

diversion” at issue. Id. at 19 (citing People ex rel. Stamos v. Public Building Com.,

238 N.E.2d 390 (Ill. 1968)).

      Here, as in Paepcke, sufficient legislative intent exists to permit diverting a

portion of Jackson Park for the OPC. The relevant piece of legislation—the Park

District Aquarium and Museum Act (Museum Act)—explicitly states that cities and

park districts with control or supervision over public parks have authorization to:

      purchase, erect, and maintain within any such public park or parks
      edifices to be used as aquariums or as museums of art, industry, science,
      or natural or other history, including presidential libraries, centers, and
      museums . . .

70 ILCS 1290/1 (emphasis added).

      Moreover, the Museum Act permits the City to contract with private entities

to build a presidential center:

      The corporate authorities of cities and park districts . . . [may] permit
      the directors or trustees of any corporation or society organized for the
      construction or maintenance and operation of an aquarium or museum
      as hereinabove described to erect, enlarge, ornament, build, rebuild,
      rehabilitate, improve, maintain, and operate its aquarium or museum
      within any public park . . . and to contract with any such directors or
      trustees of any such aquarium or museum relative to the erection,

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      enlargement, ornamentation, building, rebuilding, rehabilitation,
      improvement, maintenance, ownership, and operation of such aquarium
      or museum.
Id. (emphasis added).

      This clear legislative directive states a broad, comprehensive and definite

intention to allow the City to contract with directors or trustees of a museum (the

Foundation) to build a presidential center (the OPC) in a public park (Jackson Park).

See also People v. Pack, 862 N.E.2d 938, 940 (Ill. 2007) (“The best indication of

legislative intent is the statutory language, given its plain and ordinary meaning.”).

In other words, the Museum Act reflects the legislature’s determination that

presidential centers, as a type of museum, remain consistent with a parcel’s

designation as public parkland. See also Furlong v. South Park Comm’rs, 151 N.E.

510, 511 (Ill. 1926) (declining to enjoin South Park Commissioners’ efforts to issue

bonds to renovate Fine Arts Building to include a museum—now the Museum of

Science and Industry—in Jackson Park, because park purposes “are not confined to

a tract of land with trees, grass and seats, but mean a tract of land ornamented and

improved as a place of resort for the public, for recreation and amusement of the

public.”); Fairbanks v. Stratton, 152 N.E.2d 569, 575 (Ill. 1958) (upholding

construction of an exposition building and auditorium—now the McCormick Place

convention center—on submerged land under the public trust doctrine).

                          1.     The Museum Act Authorizes the OPC

      Nevertheless, Plaintiffs argue that the Museum Act fails to “authorize the

[OPC] transaction” because the Act fails to specifically cite to Jackson Park. [120-1]



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at 32−33; [137] at 19−20; [143] at 11. 10 They rely upon Friends of the Parks v. Chicago

Park Dist., 160 F. Supp. 3d 1060, 1064−65 (N.D. Ill. 2016) (Lucas II), in which the

court evaluated a Park District proposal to enter a 99-year ground lease with the

Lucas Museum of Narrative Art under the Museum Act.                         [120-1] at 33. There,

plaintiffs’ due process and ultra vires claims alleged that the legislature failed to

specifically reference the land subject to the ground lease; and the court denied

defendants’ motion to dismiss both claims. Friends of the Parks, 160 F. Supp. 3d at

1064−65.

         Even assuming that the Lucas II case was rightly decided (which this Court

need not address), that ruling does not apply here. First, that case involved formerly

submerged land, rather than never-submerged parkland held in trust due to a

legislative enactment, and thus warranted a different level of deference. Id. at 1063.

Second, Lucas II involved a long-term lease, and therefore a different portion of the

Museum Act. Id. at 1068. Third, the court considered whether sufficient legislative

authorization existed only in relation to plaintiffs’ procedural due process and ultra

vires claims, instead of their public trust claim. Id. at 1064−66. And fourth, the court

evaluated the issue of legislative authorization only at the motion to dismiss stage,

rather than on the merits at summary judgment:

         Plaintiffs . . . plead that the General Assembly, in enacting the [Museum
         Act] purportedly transferring control of the property, did not “refer


10 Plaintiffs make their detailed comments regarding the absence of proper legislative authorization
with respect to their due process claim [120-1] at 32−33, but they also contend that courts must apply
the “heightened scrutiny” standard to all types of land in evaluating a public trust claim as well [120-
1] at 16. Because this Court finds proper legislative authorization relevant to its analysis of both the
due process and the public trust doctrine claims, this Court considers Plaintiffs’ authorization
arguments under both counts.

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       specifically to the alienation, forfeiture or disposition of the land that is
       subject of the ground lease.” Plaintiffs have alleged that, by failing to
       provide specific approval for the transfer of the subject land, the General
       Assembly has acted in violation of Plaintiffs’ right to due process.
       Construing the allegations in Plaintiffs’ favor, Plaintiffs have
       sufficiently stated a procedural due-process claim under the Fourteenth
       Amendment.
Id. at 1064−65; see also id. at 1065−66 (articulating the same reasoning in relation to

plaintiffs’ ultra vires claim).

       Most importantly, in Paepcke, the Illinois Supreme Court explicitly rejected

plaintiffs’ argument that the “legislature must clearly and specifically state with

reference to the park or parks in question explicit authority to divert to new public

uses.” 263 N.E.2d at 19. Paepcke insists that courts should consider whether the

legislature stated sufficiently broad, comprehensive, and definite intent.             Id.

(adopting analysis in Stamos, 238 N.E.2d at 398). Here, as in Paepcke, this Court

finds that the Museum Act evinces that intent, and therefore sufficiently authorizes

construction of the OPC in Jackson Park.

       Plaintiffs also assert that even if the Museum Act authorizes the transaction,

it cannot “release the restriction” contained in the 1869 Act that Jackson Park must

remain “a public park, for the recreation, health and benefit of the public, and free to

all persons forever.” [120-1] at 20, 33. Plaintiffs argue that Defendants seek to

reallocate “open, free public park to a more restrictive use by authorizing the

Foundation to erect numerous building[s] that will not be open and free, and will have

restricted and paid access.” Id.

       Certainly, the Museum Act does not lift the 1869 Act’s “restriction.”           See

generally 70 ILCS 1290/1. But, Illinois courts have time and again made clear that

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museums and other structures—including those with fees—fall within permissible

public park purposes and thus do not violate the 1869 Act. Furlong, 151 N.E.2d at

511 (recognizing the “construction and maintenance of a building for museums, art

galleries, botanical and zoological gardens, and many other purposes, for the public

benefit,” as legitimate park purposes); Clement v. O’Malley, 420 N.E.2d 533, 540−41

(Ill. App. Ct. 1981) (approving construction of golf course in Jackson Park, in part

because the “mere fact that a fee is charged for the use of special facilities does not as

such render the facility closed to the public, provided such fees are reasonable for the

general population of the community.”) (internal citation omitted), aff’d sub nom.,

Clement v. Chi. Park Dist., 449 N.E.2d at 84. Moreover, the same terms of the

Museum Act apply to the Museum of Science and Industry, also located in Jackson

Park. [124] ¶ 31.

      And even if the Museum Act did violate the 1869 Act, the Paepcke court—

upholding construction of a school building not open to “all persons forever”—made

clear that the state legislature, having created the parkland, could reallocate its use.

See 263 N.E.2d at 18 (“[A]s far as the rights of the public in public trust lands are

concerned,” it would be “contrary to well established precedent” to hold that “the

legislature could never, by appropriate action, change or reallocate the use in any

way.”); see also Choose Life Ill., Inc. v. White, 547 F.3d 853, 858 n.4 (7th Cir. 2008)

(“It is axiomatic that one legislature cannot bind a future legislature.”).

      The Illinois General Assembly, through the Museum Act, sufficiently

authorizes the construction and operation of the OPC in Jackson Park. As such, this



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Court cannot find, as a matter of law, that the OPC violates the public trust doctrine.

Nonetheless, in the alternative, this Court next analyzes the OPC site under the

remaining levels of public trust scrutiny for clarity and finality.

                    b.     Formerly Submerged Land: No Corresponding
                           Public Benefit Test

      The next level of scrutiny (used for formerly submerged land) under the public

trust doctrine also requires a finding in Defendants’ favor. Under this standard, a

diversion of formerly submerged parkland violates the public trust only if it: (1) does

not contain sufficient legislative authorization, pursuant to Paepcke; and (2)

primarily benefits a private entity, with no corresponding public benefit. Friends of

the Parks, 786 N.E.2d at 169−70 (citing Paepcke, 263 N.E.2d at 21).

      In Friends of the Parks, the Illinois Supreme Court considered a section of the

Illinois Sports Facilities Authority Act, which permitted public financing of physical

improvements to Soldier Field. Id. at 163. The land at issue occupied formerly

navigable, or submerged, water of Lake Michigan. Id. at 163. There, plaintiffs

argued that the Sports Facilities Authority Act violated the public trust doctrine

because it allowed a private party (the Bears) to use and control Soldier Field “for its

primary benefit with no corresponding public benefit.” Id. at 169.

      In upholding the lower court’s grant of summary judgment, the court first

distinguished two cases—both of which involve submerged land—which Plaintiffs

here also rely upon: Illinois Central and People ex rel. Scott v. Chicago Park District,

360 N.E.2d 773 (Ill. 1976):




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      There is little similarity between Illinois Central or Scott and the case
      before us. The Park District is, and will remain, the owner of the
      Burnham Park property, including Soldier Field. Neither the Act, the
      implementing agreements, nor the project documents provide for a
      conveyance of the Soldier Field property to the Bears. There is no
      abdication of control of the property to the Bears. The Park District will
      continue in its previous capacity as landlord under a lease agreement
      with the Bears and will continue in its existing role as owner of the
      remainder of the Burnham Park property.

Id. at 170. Here too, the City will retain ownership over the OPC site, as well as the

OPC buildings once constructed by the Foundation. Exhibit D, §§ 2.1−.2, 4.4. And

the City will not abdicate control over the site: if the Foundation ceases to use the

OPC for its permitted purposes under the Use Agreement, the City may terminate

the Agreement. [124] ¶ 21; [125-5] (Exhibit D, §§ 6.1, 16.2).

      Second, the court invoked Paepcke’s language regarding legislative intent,

finding it “equally applicable” that the General Assembly had authorized public

financing for renovating government-owned stadiums under the Sports Facilities

Authority Act. 786 N.E.2d at 170. Here, this Court again notes that such clear

authorization exists in the form of the Museum Act.

      And finally, the court noted that through improvements to Soldier Field, the

public would enjoy “athletic, artistic, and cultural events” as well as better access to

the stadium, museums, and the “lakefront generally” due to improved parking. Id.

Because of these public benefits, the project proposal did not violate the public trust

doctrine, even though the court acknowledged that the Bears, as a private entity,

would also benefit from the project. Id. As such, even if this Court considers a for-

profit sports team comparable to a non-profit foundation seeking to build a


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presidential center, Friends of the Parks confirms that any benefits the Foundation

receives from the OPC do not render the OPC violative of the public trust doctrine.

Rather, diverting formerly submerged parkland violates the public trust only if it

primarily benefits a private entity with “no corresponding public benefit.” Id. at

169−70.

       And the OPC surely provides a multitude of benefits to the public. It will offer

a range of cultural, artistic, and recreational opportunities—including an educational

museum, branch of the Chicago Public Library, and space for large-scale athletic

events—as well as provide increased access to other areas of Jackson Park and the

Museum of Science and Industry.         See [124] ¶¶ 25−30, 39−47.        In short, if

improvements to a football stadium sufficiently benefit the public, the OPC must, too.

Accordingly, the OPC does not violate the public trust doctrine under the level of

scrutiny applied to formerly submerged lands, as articulated in Friends of the Parks.

                    c.    Submerged Land: Primary Purpose Standard

      Finally, an analysis of those cases in which courts have considered presently

submerged land further demonstrates that the OPC does not violate the public trust

doctrine. Under the public trust test applicable to such land, courts ask whether the

“primary purpose” of a legislative grant is “to benefit a private interest.”     Lake

Michigan Fed’n, 742 F. Supp. at 445; Scott, 360 N.E.2d at 781 (finding a public trust

violation where the court could “perceive only a private purpose for the grant.”).

      In Scott, for example, the Illinois Attorney General sued to invalidate a statute

authorizing U.S. Steel Corporation to purchase a portion of Lake Michigan to expand



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its steel plant. 360 N.E.2d at 779−80. The relevant authorizing legislation stated

that the additional facility would “result in the conversion of otherwise useless and

unproductive submerged land into an important commercial benefit development to

the benefit of the people of the State of Illinois.” Id. at 781. Further, defendant steel

company argued that the facility would serve the public by creating jobs and boosting

the city and state economy. Id. The court invalidated the statute, holding that while

“courts certainly should consider the General Assembly’s declaration that given

legislation is to serve a described purpose,” the “self-serving recitation of a public

purpose within a legislative enactment is not conclusive of the existence of such

purpose.” Id. (internal citation omitted). Rather, to “preserve meaning and vitality

in the public trust doctrine, when a grant of submerged land beneath waters of Lake

Michigan is proposed . . . the public purpose to be served cannot be only incidental

and remote.” Id.

      Even if the OPC falls within the standard of review applicable to presently

submerged land (which it does not), this Court cannot find the Museum Act’s

explanation of presidential centers’ public benefits “self-serving” or “incidental and

remote.” The Museum Act states that presidential centers, as a type of museum,

further “human knowledge and understanding, educating and inspiring the public,

and expanding recreational and cultural resources and opportunities.” 70 ILCS

1290/1. This explanation of the OPC’s public benefits aligns with well-established

caselaw. See, e.g., Furlong, 151 N.E. 510 at 511 (finding that because parks exist as

places “of resort for the public, for recreation and amusement” the “construction and



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maintenance of a building for museums, art galleries . . . and many other purposes,

for the public benefit” are legitimate park purposes); see also Fairbank, 152 N.E.2d

at 575 (upholding construction of an exposition building and auditorium on

submerged land in Burnham Park because they were “in the public interest” and thus

did not violate the public trust doctrine). And the OPC’s primary purpose matches

this legislative directive, as its principal building and “central mission”—the

Museum—seeks to educate the public by telling “the stories of the first African

American President and First Lady of the United States, their connection to Chicago,

and the individuals, communities, and social currents that shaped their local and

national journey.” [124] ¶¶ 24−25.

      Unconvincingly, Plaintiffs attempt to twist this public benefit into a private

purpose, arguing that the Museum’s mission merely “seeks to preserve and enhance

the legacy of the former President and his wife” rather than benefit the public. [120-

1] at 24; [137] at 13. But this Court cannot accept such a mischaracterization; under

Plaintiffs’ theory, any museum with which a select group of individuals disagree could

violate the public trust. This Court will not, as the Paepcke court cautioned against,

transform itself into a legislature or zoning board and then rewrite the educational

merits of any given museum or presidential center built on public trust land. 263

N.E.2d at 21; see also Friends of the Parks, 786 N.E.2d at 165 (where plaintiffs

submitted an economics professor’s affidavit to argue that authorizing legislation

benefited a private interest, rather than serve the declared public objectives




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announced in the Act, the trial court correctly considered the affidavit irrelevant and

declined to inquire “into the merits or accuracy of the legislative findings”).

      The case before this Court does not involve proposals to use public trust land

to expand railroad tracks, Illinois Central, 146 U.S. at 436−37, a steel plant, Scott,

360 N.E. at 775, or even a private university, Lake Michigan Fed’n, 742 F. Supp. at

443. Rather, Defendants seek to contract with the Foundation to build facilities such

as a museum, branch of the Chicago Public Library, and outdoor recreational areas—

all of which the City will own. [124] ¶¶ 23−30, 34. This project involves a public

park, not a forest preserve. Accordingly, this Court relies upon controlling caselaw,

constitutional limitations, the City Council’s determinations, and the Museum Act in

finding that the OPC’s primary purpose benefits the public, rather than private

interests. As such, this Court finds that the OPC survives the (inapplicable) level of

scrutiny provided to presently submerged lands under the public trust doctrine.

             v.     The OPC Withstands Scrutiny Under the Wisconsin
                    Factors

      In Paepcke, the Illinois Supreme Court found “it appropriate to refer to the

approach developed by the courts of our sister State, Wisconsin, in dealing with

diversion problems.” 263 N.E.2d at 19. The court proceeded to list the five factors

used under Wisconsin’s interpretation of the public trust doctrine:

      (1) that public bodies would control use of the area in question, (2) that
      the area would be devoted to public purposes and open to the public, (3)
      the diminution of the area of original use would be small compared with
      the entire area, (4) that none of the public uses of the original area would
      be destroyed or greatly impaired and (5) that the disappointment of
      those wanting to use the area of new use for former purposes was


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      negligible when compared to the greater convenience to be afforded
      those members of the public using the new facility.

Id. The court then noted that while “not controlling under the issues as presented in

this case we believe that standards such as these might serve as a useful guide for

future administrative action.” Id.; see also Friends of the Parks, 2015 WL 1188615,

at *5 (N.D. Ill. Mar. 12, 2015) (Lucas I) (noting that the “‘Wisconsin test’ . . . was not

adopted as applicable in public trust cases, and the Illinois Supreme Court again

declined to use the test in Friends of the Parks.”) (citing Friends of the Parks, 786

N.E.2d 161).

      In Clement, the Illinois appellate court approved the Park District’s proposal

to construct of a golf driving range in Jackson Park under a public trust analysis. 420

N.E.2d at 540−41. But unlike in Paepcke, no state authorizing legislation existed

from which the court could infer sufficient legislative intent. As such, the court

analyzed the Jackson Park driving range according to the five Wisconsin factors:

      The property will still be controlled by the Park District. The mere fact
      that a fee is charged for the use of special facilities does not as such
      render the facility closed to the public, provided such fees are reasonable
      for the general population of the community. In this respect, we note
      nothing in the record to indicate the charges were unreasonable.
      Moreover, the designation of 11 acres as a driving range is small
      compared to the approximately 570 total acres in Jackson Park, and the
      public uses of the original area have not been destroyed or greatly
      impaired since picnicking, casual play activities, jogging, and meadow
      bird nesting are still possible elsewhere in the park. Finally, due to the
      small amount of land taken up by the driving range relative to total park
      acreage, the disappointment of those wanting to use the area for former
      purposes is likely to be slight – particularly since the range now offers
      the same convenience to south area public which has been provided in
      the north area for many years in Lincoln Park.


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Id. at 541 (internal citations omitted). Although this Court need not apply the

Wisconsin factors here, both parties discuss them here in relation to the OPC. See

[137] at 4; [141] at 4. As such, this Court finds, as did the Paepcke court, that they

provide helpful guidance under the public trust doctrine.

       An analysis of the OPC under the Wisconsin factors requires the same result

as in Clement. If the Foundation ceases to use the OPC for its permitted purposes

under the Use Agreement, the City may terminate the Agreement. [124] ¶ 21; [125-

5] (Exhibit D, §§ 6.1, 16.2). Only a portion of the OPC will require an entrance fee,

and the Use Agreement and Museum Act require: (1) free admission to all Illinois

residents at least 52 days out of the year; (2) free admission for Illinois school children

accompanied by a teacher; and (3) an admission fee policy for City residents and

certain low-income individuals “substantially comparable” to those maintained by

other museums in Jackson Park. [124] ¶ 37; [125-5] (Exhibit D, § 6.10). The OPC

will comprise only 19.3 acres, or 3.5 percent of Jackson Park’s total 551.52 acres.

[124] ¶ 6. As in Clement, the site will not destroy or greatly impair the land’s original

use; activities such as picnicking, jogging, and meadow bird nesting will not only be

accessible in other areas of the park, but also within certain parts of the OPC site.

Id. ¶¶ 30, 47. And here, too, the small amount of land taken up by the OPC site

relative to total park acreage means the disappointment of those wanting to use the

area for former purposes remains slight, particularly given: (1) the OPC’s proposed

green space areas; and (2) that the Museum of Science and Industry already exists




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within the park. Id. ¶ 31. Here, as in Clement, this Court finds that the OPC satisfies

the Wisconsin factors.

             vi.      Plaintiffs’ Alternative Legal Theories Fail

       Plaintiffs offer two alternative public trust theories in support of their motion

for   summary      judgment:   (1)   a   comparative,   benefit-maximization     analysis

demonstrates that the choice to locate the OPC in Jackson Park constitutes an

“arbitrary” or “unreasonable” legislative decision; and (2) the Foundation will not pay

“fair market value” for use of the OPC site. [120-1] at 17−28. Neither theory exists

under Illinois law.

       First, Plaintiffs argue that the City failed to perform an analysis of whether

locating the OPC on public trust park land “provides any benefit whatsoever over

locating the Presidential Center on non-public trust property,” and thus that the

decision to locate the OPC within Jackson Park remains “arbitrary” and

unreasonable.” [120-1] at 17−20. In other words, Plaintiffs dispute whether Jackson

Park is “the best” location for the OPC. Id. at 10, 18. But Plaintiffs fail to cite to any

instance in the public trust jurisprudence in which courts have required government

entities to pick “the best” location, much less require courts to review such

assessments de novo. Quite simply, Illinois law imposes no obligation upon this Court

to revisit the cost-benefit assessments of state and local lawmakers or otherwise sift

through impact studies on its own to determine whether the UIC proposed sites,

Washington Park, or Jackson Park constitutes the best location for the OPC. See,

e.g., River Park v. City of Highland Park, 23 F.3d 164, 165 (7th Cir. 1994) (“Federal



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courts are not boards of zoning appeals.”). Rather, as is discussed above, courts need

only look to the relevant authorizing legislation and cited public benefits for a given

project within the lawmakers’ own analysis; in other words, “value dependent

assessment[s] of the best use of the property” are “highly subjective” and “irrelevant

to an analysis of the propriety of a grant of public land.” Lake Michigan Fed’n, 742

F. Supp. at 446.

      Second, Plaintiffs argue that the Foundation’s $10.00 payment, which forms

part of its consideration for the Use Agreement, [125-5] (Exhibit D, Art. III), violates

the public trust doctrine based upon a “line of cases involving Mississippi’s treatment

of public trust property known as ‘sixteenth section lands.’” [120-1] at 24. According

to Plaintiffs, these cases require the City to charge a “reasonable rent” with due

regard” for leases of public trust property. Id. at 24−28. This theory is also unavailing

because, in short, Illinois law controls this case. Plaintiffs do not offer any Illinois

court that has cited to Plaintiffs’ line of Mississippi cases or adopted those cases’

reasoning or analysis. Accordingly, without addressing the possible implications of

Mississippi’s approach here, this Court declines to ignore controlling Illinois law in

favor of an unprecedented rule. See, e.g., Insolia v. Phillip Morris, Inc., 216 F.3d 596,

607 (7th Cir. 2000) (“Though district courts may try to determine how the state courts

would rule on an unclear area of state law, district courts are encouraged to dismiss

actions based on novel state law claims.”); MindGames, Inc. v. Western Publishing

Co., Inc., 218 F.3d 652, 655−56 (7th Cir. 2000) (“The rule is that in a case in federal




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court in which state law provides the rule of decision, the federal court must predict

how the state’s highest court would decide the case, and decide it the same way.”).

      For all of these reasons, this Court grants Defendants’ motion for summary

judgment as to Plaintiffs’ public trust claim (Count II) and denies Plaintiffs’ motion

for summary judgment as to Count II.

      B.     Count I: Violation of Due Process

      Plaintiffs originally based their due process claim upon three theories: (1)

aesthetic and environmental harm pursuant to Sierra Club v. Morton, 405 U.S. 727

(1972); (2) the public trust doctrine; and (3) the Fifth Amendment’s Takings Clause.

See [65-1] at 14; [91] ¶¶ 82−83, 85. This Court’s prior motion to dismiss opinion found

that Plaintiffs failed to establish standing based upon their aesthetic or

environmental harm theory, but found that Plaintiffs established standing based

upon the public trust doctrine. [92] at 11−14. Because Defendants’ 12(b)(1) motion

to dismiss did not challenge Plaintiffs’ Takings Clause theory based upon subject

matter jurisdiction, this Court did not consider it.    Id. at 8−9.   Therefore, only

Plaintiffs’ Takings Clause and public trust theories of due process remain.

             i.     Plaintiffs’ Takings Clause Theory

      As an initial matter, Plaintiffs’ Takings Clause theory, to the extent it is

included within Count I, fails as a matter of law. The Fifth Amendment states, in

relevant part: “nor shall private property be taken for public use, without just

compensation.” U.S. Const. amend. V. (emphasis added). By the clause’s plain

language, no unconstitutional taking can occur where, as here, the relevant property



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is already public. See, e.g., Stop the Beach Renourishment, Inc. v. Florida Dep’t of

Envtl. Prot., 560 U.S. 702, 715 (2010) (“In sum, the Takings Clause bars the State

from taking private property without paying for it”); see also Reichelderfer v. Quinn,

287 U.S. 315, 323 (1932) (finding “[p]roperty was not taken” when legislation

authorized constructing a fire house on public parkland; rather, the “taking occurred

when the lands were condemned for the park.”). Plaintiffs concede that Jackson Park

exists as public parkland. [112-1] ¶ 15. Therefore, Plaintiffs’ takings clause theory

cannot survive summary judgment.

                ii.    Plaintiffs’ Public Trust Theory

         A procedural due process claim requires: (1) a cognizable property interest; (2)

a deprivation of that interest; and (3) inadequate process. Price v. Bd. of Educ., 755

F.3d 605, 607 (7th Cir. 2014); Palka v. Shelton, 623 F.3d 447, 452 (7th Cir. 2010).

Here, Plaintiffs’ public trust due process theory fails for two reasons. First, the

parties spend considerable time disputing whether, under the public trust doctrine,

Plaintiffs hold a sufficient property interest in the Jackson Park site to satisfy a

procedural due process claim. See [120-1] at 28−34; [123-1] at 31−34. 11 But even

assuming Plaintiffs hold a cognizable property interest, Plaintiffs’ due process claim

fails because they fail to demonstrate a deprivation of that interest.




11In doing so, Plaintiffs rely heavily upon this Court’s prior motion to dismiss opinion, which found
that they established standing for purposes of their federal due process claim, [93] at 12. [120-1] at
29. But this Court’s finding that Plaintiffs have standing does not equate to success on the merits at
summary judgment. See, e.g., Booker-El v. Superintendent, Ind. State Prison, 668 F.3d 896, 899−900
(7th Cir. 2012) (“[S]tanding and entitlement to relief are not the same thing.”).


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         In particular, Plaintiffs argue that Defendants deprived them of adequate

process because the “Illinois legislature has not authorized the transactions at issue

between the Park District, the City and the Foundation, nor has the Illinois

legislature released the restriction on the Jackson Park Site.” [120-1] at 28. But, as

discussed in detail above with respect to Plaintiffs’ public trust claim under Paepcke,

the General Assembly—through the Museum Act—has authorized the OPC; the

Museum Act need not refer specifically to the alienation or disposition of the Jackson

Park site itself. See Paepcke, 263 N.E.2d at 19. Moreover, this Court has already

determined that neither the OPC nor the Museum Act violates the 1869 Act’s

restriction upon public parkland.            See Furlong, 151 N.E.2d at 511; Clement v.

O’Malley, 420 N.E.2d at 540−41. Thus, Plaintiffs fail to establish a deprivation of any

interest under their procedural due process claim. For this reason alone, their public

trust theory fails as a matter of law.

         Second, Plaintiffs cannot base their federal due process claim solely upon

violations of state statutes. 12 See Hebert v. Louisiana, 272 U.S. 312, 316−17 (1926)

(“The due process of law clause in the Fourteenth Amendment does not take up the

statutes of the several states and make them the test of what it requires”); Tucker v.

City of Chicago, 907 F.3d 487, 495 (7th Cir. 2018) (“[F]ederal due process protection

is not a guarantee that state governments will apply their own laws accurately.”)



12Plaintiffs’ response memorandum also argues that Defendants’ deprived them of adequate process
because the Illinois Property Transfer Act does not authorize the Park District’s Sale. [137] at 20. As
discussed below, this Court finds that the Property Transfer Act authorizes the Park District’s sale.
And regardless, this argument fails to establish a deprivation of any due process interest because it
relies solely upon an alleged violation of a state statute.


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(citing Simmons v. Gillespie, 712 F.3d 1041, 1044 (7th Cir. 2013)); see also Coniston

Corp. v. Vill. of Hoffman Estates, 844 F.2d 461, 467 (7th Cir. 1988) (holding that a

“violation of state law is not a denial of due process law” where plaintiffs’ due process

claim sought review of Board of Trustees’ zoning decision under state law). Absent a

cognizable due process claim separate and apart from alleged violations of the

Museum Act and 1869 Act, Count I fails as a matter of law.

      Accordingly, this Court grants Defendants’ motion for summary judgment as

to Count I, and denies Plaintiffs’ motion for summary judgment as to Count I.

      C.     Count III: Ultra Vires Action

      Plaintiffs’ ultra vires action claim, alleging that the Park District and City

engaged in ultra vires actions for which they have no authority, rests upon two

theories. [91] ¶ 99. First, Plaintiffs make the astounding argument that the OPC

violates the Museum Act because it contains outdoor green spaces, in addition to

buildings. [120-1] at 34. Second, Plaintiffs argue that because the City itself will not

use the OPC site for the term of the Use Agreement, the Park District’s transfer of

land violates the Illinois Property Transfer Act. Id. at 40. Defendants argue that a

plain reading of the relevant statutes dispels Plaintiffs’ claim. [123] at 37−39. This

Court agrees with Defendants.

             i.     The Museum Act Authorizes the OPC’s Green Space

      Plaintiffs’ first theory proceeds in two parts, as follows. The Museum Act

contains two provisions. The first states that the corporate authorities of cities and

park districts have authorization to:



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        purchase, erect, and maintain within any such public park or parks
        edifices to be used as aquariums or as museums of art, industry, science,
        or natural or other history, including presidential libraries, centers, and
        museums, such aquariums and museums consisting of all facilities for
        their collections, exhibitions, programming, and associated initiatives …

70 ILCS 1290/1 (emphasis added). In the same sentence, the Act clarifies that cities

and park districts may also contract with directors or trustees relative to the building

and operation “of such aquarium or museum.” Id.

        The second sentence then begins:

        Notwithstanding the previous sentence, a city or park district may enter
        into a lease for an initial term not to exceed 99 years, subject to renewal,
        allowing a corporation or society as hereinabove described to erect,
        enlarge, ornament, build, rebuild, rehabilitate, improve, maintain, and
        operate its aquarium or museum, together with the grounds immediately
        adjacent to such aquarium or museum, and to use, possess, and occupy
        grounds surrounding such aquarium or museum as hereinabove
        described for the purpose of beautifying and maintaining such grounds
        in a manner consistent with the aquarium or museum’s purpose . . .

Id. (emphasis added).

        Based upon this second provision, Plaintiffs argue that the Museum Act only

authorizes the City to allow the Foundation to build and operate the OPC, together

with the grounds immediately adjacent to the OPC, if the City leases the OPC site to

the Foundation. [120-1] at 37. Because the Use Agreement does not create a lease

between the City and Foundation, Plaintiffs maintain that the OPC site cannot

contain any grounds surrounding the building “edifices,” and thus that the Use

Agreement authorizing OPC green space constitutes ultra vires activity. Id.; [112-1]

¶ 46.




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      Essentially, Plaintiffs ask this Court to find that a statute authorizing the

construction of a presidential center within a green space prohibits preserving green

space within such a center. This Court rejects such an absurd and bizarre reading of

the statutory text and context. The Museum Act’s first sentence—not relating to

leases—defines museums to include presidential centers. 70 ILCS 1290/1. The plain

language then goes on to clarify that museums include “all facilities for their

collections, exhibitions, programming, and associated initiatives.” Id. Reading the

Museum Act according to its express language, as this Court must, does not allow

this Court to limit “facilities” to just buildings. See, e.g., Williams v. Staples, 804

N.E.2d 489, 493 (Ill. 2004) (The plain language of the statute serves as “the most

reliable indicator of the legislature’s objectives in enacting a particular law.”)

(internal quotations omitted); Lawson v. FMR LLC, 571 U.S. 429, 440 (2014) (courts

must give “the words used their ordinary meaning”); Facility, New Oxford American

Dictionary 610 (3d ed. 2010) (“facility” defined as “space or equipment necessary for

doing something,” as in “facilities for picnicking, camping, and hiking.”).

      The Foundation’s design for the OPC green space includes purposeful features

such as: (1) play areas for children; (2) contemplative spaces; (3) a sledding hill; (4) a

sloped lawn for picnicking, recreation and community and special events; (5) walking

paths; and (6) a nature walk along the lagoon. [124] ¶ 30. According to the Museum’s

mission statement, these “outdoor facilities” will “beautify and enhance the

recreational opportunities on the site, creating a fun, safe environment for visitors to

enjoy in all seasons.” [125-5] (Exhibit D, (Sub) Exhibit “C”). These features thus



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comprise part of the OPC’s facilities for programming and associated initiatives.

Therefore, given the complete absence of any textual support for Plaintiffs’ novel

statutory construction, this Court cannot find that the Use Agreement, by

authorizing the OPC’s use of green space, constitutes ultra vires activity.

                ii.     The Illinois Property Transfer Act Authorizes the OPC

         Plaintiffs’ second theory argues that the Illinois Local Government Property

Transfer Act, 50 ILCS 605/0.01 et seq., does not authorize the Park District’s transfer

of the Jackson Park site to the City. 13 Section 2 of the Property Transfer Act provides:

         If the territory of any municipality shall be wholly within, coextensive
         with, or partly within and partly without the corporate limits of any
         other municipality . . . and the first mentioned municipality (herein
         called “transferee municipality”), shall by ordinance declare that it is
         necessary or convenient for it to use, occupy or improve any real estate
         held by the last mentioned municipality (herein called the “transferor
         municipality”) in the making of any public improvement or for any
         public purpose, the corporate authorities of the transferor municipality
         shall have the power to transfer all of the right, title and interest held by
         it immediately prior to such transfer, in and to such real estate, whether
         located within or without either or both of said municipalities, to the
         transferee municipality upon such terms as may be agreed upon by the
         corporate authorities of both municipalities . . .

Id. at 605/2 (emphasis added). Based upon this language, Plaintiffs contend that the

Park District maintains authority to transfer the Jackson Park site to the City only

if the City itself will “use, occupy, or improve” the site for the OPC. [120-1] at 41.

Because the Use Agreement provides the Foundation with the right to occupy, use,



13Plaintiffs also argue that the Park District violates section 2(b) of the Property Transfer Act, which
governs the transfer of municipality-owned land limited by restrictions. [137] at 22. This section only
applies if transferee municipalities desire the use of the land “free from” the relevant restriction. 50
ILCS 605/2(b). This Court has already found that the Museum Act and OPC do not violate the 1869
Act’s restriction on public parkland. Therefore, Plaintiffs’ section 2(b) argument fails under Count III
as well.

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maintain, operate, and alter the OPC, Plaintiffs argue that the Park District’s

transfer constituted an ultra vires activity. Defendants, on the other hand, maintain

that: (1) the Property Transfer Act does not prohibit the acquiring municipality from

contracting with third parties to assist in improving the transferred land; and (2) the

Museum Act, Intergovernmental Cooperation Act, and Article VII, section 10(a) of

the Illinois Constitution authorize such a contract.          This Court agrees with

Defendants.

      First, Article VII, section 10(a) of the Illinois Constitution permits units of local

government to “contract and otherwise associate with individuals, associations, and

corporations” in any manner not prohibited by law. Further, that same section allows

local governments to “transfer any power or function, in any manner not prohibited

by law or ordinance” to other units of local government.                   Likewise, the

Intergovernmental Cooperation Act, 5 ILCS 220/2−3, allows units of local

governments to exercise, combine, transfer, and “enjoy jointly” any of their “powers,

privileges, functions, or authority,” except where expressly prohibited by law. Thus,

read together with the Property Transfer Act, these provisions demonstrate that: (1)

each Defendant, as an individual unit of local government, can separately contract

with third parties on land that they already own; and (2) either Defendant can

transfer land to the other, along with their power to contract with third parties on

that land.

      Plaintiffs contend that none of these provisions apply, because they only allow

transfers not prohibited by law. See, e.g., [91] ¶¶ 63, 67. But Plaintiff fails to point



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to any law that prohibits such transfers. For instance, the Property Transfer Act is

silent as to whether municipalities can contract with third parties to improve

transferred land. 14,     15   See 50 ILCS 605/2; see also Wittman v. Koenig, 831 F.3d 416,

425 (7th Cir. 2016) (“Legislative silence is ordinarily a weak indication of legislative

intent.”). And the Museum Act clearly authorizes the City to contract with the

Foundation in constructing and operating the OPC. 70 ILCS 1290/1. Moreover,

Plaintiffs’ reading of the statute would create the nonsensical result of prohibiting

transferee municipalities from ever contracting with engineers, architects, or

builders to improve a site. This Court rejects Plaintiffs’ theory and instead reads

each of the relevant provisions of Illinois law within context together and gives each

statute effect according to its plain terms. 16 Accordingly, this Court cannot find that




14Plaintiffs also argue that the Park District’s transfer of the OPC site violates the Illinois Park
District Code, 70 ILCS 1205/10-7, which governs the terms by which park districts may sell, lease, or
exchange realty. [137] at 21. But the Park District Code explicitly states that it does not apply to the
Chicago Park District. 70 ILCS 1205/1-2(d). Accordingly, Plaintiffs’ ultra vires claim cannot succeed
based upon this theory.

15 Plaintiffs’ amended complaint references Article VIII, Section I(a) of the Illinois Constitution in
relation to their ultra vires claim. [91] ¶ 64. Article VIII, Section 1(a) provides that public funds,
property or credit shall be used only for public purposes. Plaintiffs make no such argument in their
motion for summary judgment, and thus they have waived the argument. See generally [120-1]. In
any event, this Court finds, consistent with its public trust analysis, that the OPC’s educational and
recreational benefits serve a public purpose. See, e.g., Friends of the Parks, 786 N.E.2d at 168−69
(finding that Soldier Field “has served public purposes since its dedication in 1924” and would
“continue to do so after the completion of the Burnham Park project as authorized by the Act.”);
Paschen v. Winnetka, 392 N.E.2d 306, 310 (Ill. App. Ct. 1979) (under article VIII, section 1(a), courts
must ask whether “governmental action has been taken which directly benefits a private interest
without a corresponding public benefit”).

16 Even if the Property Transfer Act’s silence could somehow be construed as ambiguous (which it is
not), this Court would reach the same result by reading each provision and construing them all
together (Property Transfer Act, Museum Act, Intergovernmental Cooperation Act, and Article VII,
section 10(a) of the Illinois Constitution). People v. 1946 Buick, VIN 34423520, 537 N.E.2d 748, 750
(Ill. 1989) (Illinois recognizes the doctrine of in pari materia, but only to resolve statutory ambiguities).

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the Park District’s transfer of the Jackson Park site to the City constitutes an ultra

vires act under the Property Transfer Act.

      This Court grants Defendants’ motion for summary judgment as to Count III

and denies Plaintiffs’ motion for summary judgment as to Count III.

      D.     Count IV: Declaratory Judgment As to Inapplicability of the
             Illinois Museum Act

      Plaintiffs’ theory as to Count IV also falls short. Ostensibly, Plaintiffs contend

that the portions of the Museum Act amended in 2016 constitute retroactive changes,

and therefore seek a declaratory judgment that the Museum Act cannot authorize the

OPC. [91] ¶¶ 100−103.

      Specifically, Plaintiffs’ allegations as to Count IV proceed as follows:

      101. The 2016 Amendment to the Museum Act states on its face that
      it is not retroactive. The temporal reach of the 2016 Amendment states
      that the amendment is “declaratory of existing law,” and therefore the
      substance of the 2016 Amendment cannot be made retroactive.

      102. However, the 2016 Amendment is not declaratory of existing law.
      Existing law at the time of the 2016 Amendment does not [ ] allow
      aquariums and museums on formerly submerged lands, does not allow
      undefined “edifices” for “presidential libraries and centers” on park land,
      and does not allow the gifting of park land to private entities by allowing
      multiple 99 year leases of park land to a private entity – all of which
      were added in the 2016 Amendment to the Museum Act.

      103. On information and belief, the Defendants will contend that the
      Illinois Museum Act allows a Presidential Center to be constructed on
      the Jackson Park Site. Therefore, an actual and justiciable controversy
      exists between the Plaintiffs and the Defendants related to the
      applicability of the Museum Act to the Presidential Center.

      Defendants move for summary judgment on this claim, arguing that: (1) the

2016 amendment had no retroactive effect on the Operating Ordinance, as the City



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Council enacted it in 2018; and (2) in any event, the General Assembly can lawfully

apply the amendment retroactively. [123-1] at 39−40. Plaintiffs, however, fail to

address Count IV in their response memorandum. See generally [137]. Failure to

respond to an argument results in waiver, and thus justifies granting Defendants’

motion for summary judgment as to Count IV. See Bonte v. U.S. Bank, N.A., 624 F.3d

461, 466 (7th Cir. 2010).

      Nevertheless, this Court also agrees with Defendants that the Museum Act

cannot retroactively apply to the OPC.      To the extent Plaintiffs allege in their

amended complaint that the Museum Act “cannot be made retroactive,” the City did

not enact the Operating Ordinance, which authorized the City to accept the OPC site

from the Park District and enter into the Use Agreement, until two years after the

2016 amendment. [124] ¶ 19. Therefore, no record exists from which this Court can

find the 2016 amendment to the Museum Act constituted an unlawful retroactive

provision as applied to the OPC. This Court grants Defendants’ motion for summary

judgment as to Count IV.

      E.     Count V: Special Legislation

      Count V seeks to void the Museum Act under the Illinois Constitution’s Special

Legislation Clause, which prohibits a “special or local law when a general law is or

can be made applicable.” Ill. Const. 1970, art. IV, § 13. According to Plaintiffs, the

2016 amendment to the Museum Act “expressly” allowed a presidential center, and

thus constitutes special legislation. Defendants move for summary judgment as to




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Count V because the 2016 amendment does not create an exclusionary classification.

This Court agrees.

      As an initial matter, Plaintiffs spend the vast majority of their amended

complaint and summary judgment briefing arguing that the Museum Act fails to

authorize the OPC because it lacks specificity. In the same breadth, with respect to

Count V, Plaintiffs also claim that the General Assembly acted in an improperly

specific manner when it included “presidential centers” within the Act. [91] ¶ 109.

Count V falls, however, for the simple reason that it fails to survive Illinois courts’

two-part test for special legislation claims.

      The special legislation clause prohibits the General Assembly from conferring

“a special benefit or privilege upon one person or group and excluding others that are

similarly situated.” Crusius v. Illinois Gaming Board, 837 N.E.2d 88, 94 (Ill. 2005).

While the legislature maintains broad discretion to make statutory classifications,

the special legislation clause prevents it from making classifications that arbitrarily

discriminate in favor of a select group. Id.; Big Sky Excavating, Inc. v. Illinois Bell

Telephone Co., 840 N.E.2d 1174, 1183 (Ill. 2005). Illinois courts thus apply a two-

part test to determine whether a law constitutes special legislation: (1) whether the

statutory classification at issue discriminates in favor of a select group and against a

similarly situated group; and (2) if the classification does so discriminate, whether

the classification is arbitrary. Id.

      Here, Plaintiffs object to the portion of the Museum Act which defines

museums to include “presidential libraries, centers, and museums.” [137] at 25; 70



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ILCS 1290/1. But this language does not discriminate in favor of a select group or

against a similarly situated group, nor does it create any unlawful classification

whatsoever. Rather, the Act merely enumerates traditional examples of museums

for purposes of the Act. See [91-3]; 70 ILCS 1290/1. As such, the amendment does

not exclude any entity wishing to operate a museum in a public park under the

Museum Act, and therefore fails the two-part test. See, e.g., Elem. Sch. Dist. 159 v.

Schiller, 849 N.E.2d 349, 363−64 (Ill. 2006) (finding no special legislation where law

did not exclude any entity from a benefit received by a property owner pursuant to

it). Accordingly, this Court grants Defendants’ motion for summary judgment as to

Count V.

IV.   Conclusion

      For the reasons explained above, this Court grants Defendants’ motion for

summary judgment as to Counts I through V, [122], and denies Plaintiffs’ motion for

summary judgment as to Counts I through III, [112]. The Clerk shall enter judgment

for Defendants and against Plaintiffs. All set dates and deadlines are stricken. Civil

case terminated.

Dated: June 11, 2019



                                              Entered:



                                              __________________________________
                                              John Robert Blakey
                                              United States District Judge



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